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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                             CASE NO.: 1:19-cv-07736-VMK-JC

 KINON SURFACE DESIGN, INC.,

               Plaintiff,

 v.

 HYATT INTERNATIONAL
 CORPORATION, HYATT
 INTERNATIONAL TECHNICAL
 SERVICES, INC., HYATT OF CHINA
 LIMITED, HYATT INTERNATIONAL
 HOTEL MANAGEMENT (BEIJING) CO.,
 LTD., AND CHINA RESOURCES
 (DALIAN) CO., LTD.,

               Defendants.


      MOTION FOR ENTRY OF CLERK’S DEFAULT AS TO DEFENDANT CHINA
                     RESOURCES (DALIAN) CO., LTD.

        Plaintiff KINON SURFACE DESIGN, INC., by and through its undersigned counsel,

hereby requests that the Clerk enter default in this matter against Defendant CHINA

RESOURCES (DALIAN) CO., LTD. (“CRD”) hereto on the ground that CRD have failed to

appear or otherwise respond to the Complaint within the time prescribed by the Federal Rules of

Civil Procedure. The Declaration of JOEL B. ROTHMAN in Support of Motion for Entry of

Clerk’s Default (“Rothman Decl.”) filed concurrently herewith demonstrates that on February

27, 2020, CRD was served with the Summons and a copy of the Complaint by sub-serving the

Illinois Secretary of State, Department of Business Services, 501 South Second Street, Room

350, Springfield, Illinois, 62756, and by sending a copy of the Summons and Complaint by

registered mail to CRD at 38/F, Dalian World Trade Center, No. 25, Tongxing Street, Zhongshan


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District, Dalian, Lioaning, China. The time allowed for CRD to respond to the Complaint has

expired. Neither Plaintiff nor the Court has granted CRD an extension of time to respond to the

Complaint. CRD has failed to answer or otherwise respond to the Complaint, or serve a copy of

any Answer or other response upon Plaintiff's attorney of record.

       Plaintiff is informed and believes that CRD is a corporation and is not considered an

infant or incompetent person. Plaintiff is informed and believes that the Servicemembers Civil

Relief Act does not apply.

       WHEREFORE, Plaintiff Kinon Surface Design, Inc. requests that a default be entered by

the Clerk against Defendant China Resources (Dalian) Co., Ltd. and for such other and further

relief as to the Court deems just and proper in the premises.

Dated: April 3, 2020                          Respectfully submitted,


                                              /s/Joel B. Rothman
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                                      Attorneys for Plaintiff Kinon Surface Design, Inc.




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                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on April 3, 2020, a true and accurate copy of the
foregoing document was sent via electronic mail by the Court’s ECF System to all parties listed
below on the Service List

                                             /s/Joel B. Rothman
                                             JOEL B. ROTHMAN

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